                                  Case 23-10848-TMH                  Doc 1        Filed 06/28/23           Page 1 of 23


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Bruce's Bagels, Beverages, and Bites, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA 1885, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  700 Van Ness Avenue
                                  Fresno, CA 93721
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Fresno                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.bitwiseindustries.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                   Case 23-10848-TMH                     Doc 1         Filed 06/28/23              Page 2 of 23
Debtor    Bruce's Bagels, Beverages, and Bites, LLC                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5419

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
     business debtor” must check           Chapter 11. Check all that apply:
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 23-10848-TMH                       Doc 1       Filed 06/28/23              Page 3 of 23
Debtor    Bruce's Bagels, Beverages, and Bites, LLC                                                       Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor      See attached Annex A                                          Relationship

                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                 Case 23-10848-TMH                    Doc 1         Filed 06/28/23             Page 4 of 23
Debtor    Bruce's Bagels, Beverages, and Bites, LLC                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 28, 2023
                                                  MM / DD / YYYY


                             X   /s/ Ollen Douglass                                                       Ollen Douglass
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim President




18. Signature of attorney    X   /s/ William E. Chipman, Jr.                                               Date June 28, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William E. Chipman, Jr.
                                 Printed name

                                 Chipman Brown Cicero & Cole, LLP
                                 Firm name

                                 Hercules Plaza
                                 1313 North Market Street, Suite 5400
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 295-0191                Email address      chipman@chipmanbrown.com

                                 3818 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                              ANNEX 1 – AFFILIATED DEBTORS

                 The following list identifies all of the affiliated entities, including the Debtor
filing this petition, that have filed voluntary petitions for relief in this Court under chapter 7 of
the United States Code, substantially contemporaneously with the filing of this petition.


                               DEBTOR’S NAME                                   DEBTOR’S EIN
         1.     BW Industries Inc.                                               XX-XXXXXXX
         2.     Bitwise Industries, Inc.                                         XX-XXXXXXX
         3.     BWRD, LLC                                                        XX-XXXXXXX
         4.     Alpha Works Technologies, LLC                                    XX-XXXXXXX
         5.     Bruce’s Bagels, Beverages, and Bites, LLC                        XX-XXXXXXX




00052426.1
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                 RESOLUTIONS OF THE GOVERNING BODIES OF
                           BW INDUSTRIES INC.,
                           BITWISE INDUSTRIES, INC.,
                       ALPHA WORKS TECHNOLOGIES, LLC,
                               BWRD, LLC, AND
                    BRUCE’S BAGELS, BEVERAGES, & BITES, LLC

                                         June 28, 2023

       WHEREAS, BW Industries Inc., a Delaware corporation (“BWI”) is the sole stockholder
of Bitwise Industries, Inc., a California corporation (“Bitwise”), its direct wholly owned
subsidiary;

        WHEREAS, BWI is the sole Member of Alpha Works Technologies, LLC, a California
Limited Liability Company (“Alpha Works”), and BWRD, LLC, a California Limited Liability
Company (“BWRD”), and Bruce’s Bagels, Beverages, & Bites, LLC, a California Limited
Liability Company (“BBBB”), its direct wholly owned subsidiaries;

         WHEREAS, Bitwise is the Manager of Alpha Works, BWRD and BBBB;

         WHEREAS, the board of directors, or manager, of each of BWI, Bitwise, Alpha Works,
BWRD, and BBBB, as applicable (in each case, the “Governing Body”) of each of BWI, Bitwise,
Alpha Works, BWRD, and BBBB (collectively, the “Companies” and each such entity, a
“Company”) has reviewed and had the opportunity to ask questions about the materials presented
by the management and the legal and financial advisors of such each Company regarding the
liabilities and liquidity of such Company, including that the Companies do not have sufficient
capital to maintain operations and the impact of the foregoing on such Company’s businesses;

       WHEREAS, the Governing Body of each Company has had the opportunity to consult
with the management and the legal and financial advisors of such Company to fully consider
options available considering that the Companies do not have sufficient capital to maintain
operations;

       WHEREAS, the Governing Body of each Company has reviewed, considered, and
received the recommendation of senior management of such Company and the advice of such
Company’s professionals and advisors with respect to the options available to such Company,
including the possibility of pursuing a bankruptcy proceeding under Chapter 7 of title 11 of the
United States Code (as amended, the “Bankruptcy Code”);

        WHEREAS, the undersigned, being the Governing Body of each of the Companies,
pursuant to Section 141(f) of the General Corporation Law of the State of Delaware, the California
General Corporation Law, and the applicable governing documents of each such Company, hereby
adopt the following resolutions by written consent;

       NOW, THEREFORE, BE IT RESOLVED, that after consideration of the financial state of
the Companies and the recommendations of senior management of each of the Companies and the
advice of each of the Companies’ professionals and advisors, the Governing Body has determined

00052598.2
               Case 23-10848-TMH            Doc 1     Filed 06/28/23      Page 7 of 23




in its business judgment that it is in the best interest of each of the Companies, their creditors,
shareholders, members, and other interested parties, and stakeholders that a voluntary petition be
filed by each of the Companies under Chapter 7 of the Bankruptcy Code in the United States
Bankruptcy Court for the District of Delaware (each a “Bankruptcy Petition”); and it is

        FURTHER RESOLVED, that Ollen Douglass, and any other officer or person designated
and so authorized to act (each, an “Authorized Person”) are, and each hereby is, authorized,
empowered and directed, in the name and on behalf of each of the Companies (a) to execute, verify
and file on behalf of each of the Companies all documents necessary or appropriate in connection
with the filing of each Bankruptcy Petition, including, without limitation, all petitions, affidavits,
declarations, schedules, statements of financial affairs, lists, motions, applications, pleadings, and
other papers or documents in connection with each Bankruptcy Petition; (b) take and perform any
and all actions deemed necessary and proper to obtain such relief as authorized herein and in
connection with each Company’s Chapter 7 case (the “Bankruptcy Case”); (c) appear as
necessary at all bankruptcy proceedings on behalf of each Company; and (d) pay all such expenses
where necessary or appropriate in order to carry out fully the intent and accomplish the purposes
of the resolutions adopted herein; and it is

        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to employ the law firm of Chipman Brown Cicero & Cole, LLP as counsel
to assist the Companies in filing for relief under Chapter 7 of the Bankruptcy Code and in carrying
out the Companies’ duties under Chapter 7 of the Bankruptcy Code, and the officers of the
Companies are hereby authorized and directed to execute retention agreements and pay retainers
prior to the filing of the bankruptcy cases; and it is

        FURTHER RESOLVED, that the Authorized Persons are, and each of them hereby is,
authorized and directed to employ Stretto, Inc. to assist the Companies in preparing (i) schedules
of assets and liabilities; and (ii) statements of financial affairs, necessary for filing for relief under
Chapter 7 of the Bankruptcy Code, and the officers of the Companies are hereby authorized and
directed to execute retention agreements and pay retainers prior to the filing of the bankruptcy
cases; and it is

         FURTHER RESOLVED, that all instruments, agreements, certificates, consents, waivers or
other documents heretofore executed and delivered (or caused to be executed and delivered) and
all acts lawfully done or actions lawfully taken by any Authorized Person in connection with the
Bankruptcy Cases, or any further action to seek relief on behalf of each Company under Chapter
7 of the Bankruptcy Code, or in connection with the Bankruptcy Cases, or any matter related
thereto, be, and hereby are, adopted, ratified, confirmed and approved in all respects as the acts
and deeds of such Company; and it is

        FURTHER RESOLVED, that the acts, actions and transactions heretofore taken by the
officers of each Company or the Directors of each Company in the name of and on behalf of each
Company in furtherance of the purpose and intent of any or all of the foregoing resolutions, which
acts, actions and transactions would have been approved by the foregoing resolutions except that
such acts were taken before those resolutions were adopted, be, and hereby are, ratified, confirmed,
and approved in all respects.
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                             Case 23-10848-TMH          Doc 1   Filed 06/28/23   Page 8 of 23




                   IN WITNESS WHEREOF, the undersigned, being all members of the board of directors of
             BW Industries Inc., have executed this written consent as of the date first set forth above.




              Name: Mitchell '. Kapor



              Name: Paula Pretlow



               Name: Ollen Douglass
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                             Case 23-10848-TMH               Doc 1   Filed 06/28/23   Page 9 of 23




                  IN WITNESS WHEREOF, the undersigned, being all members of the board of directors of
            BW Industries Inc., have executed this written consent as of the date first set forth above.




              Name: Mitchell '. Kapor



              Name: Paula Pretlow



               Name: Ollen Douglass
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                             Case 23-10848-TMH    Doc 1    Filed 06/28/23    Page 10 of 23




                   IN WITNESS WHEREOF, the undersigned, being all members of the board of directors of
             BW Industries Inc., have executed this written consent as of the date first set forth above.




              Name: Mitchell '. Kapor



              Name: Paula Pretlow



               Name: Ollen Douglass
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                            Case 23-10848-TMH           Doc 1   Filed 06/28/23   Page 11 of 23




                    IN WITNESS WHEREOF, the undersigned, being all members of the board of directors of
             Bitwise Industries, Inc., have executed this written consent as of the date first set forth above.




               Name: Mitchell '. Kapor



               Name: Paula Pretlow



                Name: Ollen Douglass
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                             Case 23-10848-TMH    Doc 1       Filed 06/28/23     Page 12 of 23




                    IN WITNESS WHEREOF, the undersigned, being all members of the board of directors of
             Bitwise Industries, Inc., have executed this written consent as of the date first set forth above.




               Name: Mitchell '. Kapor



               Name: Paula Pretlow



                Name: Ollen Douglass
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                            Case 23-10848-TMH            Doc 1   Filed 06/28/23   Page 13 of 23




                   IN WITNESS WHEREOF, the undersigned, being all members of the board of directors of
            Bitwise Industries, Inc., have executed this written consent as of the date first set forth above.




               Name: Mitchell '. Kapor



               Name: Paula Pretlow



                Name: Ollen Douglass
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                            Case 23-10848-TMH            Doc 1   Filed 06/28/23   Page 14 of 23




                  IN WITNESS WHEREOF, the undersigned, being the sole member of Alpha Works
            Technologies, Inc., has executed this written consent as of the date first set forth above.


                                                                    BITWISE INDUSTRIES, INC.



                                                             By:
                                                             Name: Ollen Douglass
                                                             Title: Authorized Signatory
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                            Case 23-10848-TMH            Doc 1   Filed 06/28/23   Page 15 of 23




                   IN WITNESS WHEREOF, the undersigned, being the sole member of BWRD, LLC, has
            executed this written consent as of the date first set forth above.


                                                                    BITWISE INDUSTRIES, INC.



                                                             By:
                                                             Name: Ollen Douglass
                                                             Title: Authorized Signatory
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                            Case 23-10848-TMH            Doc 1   Filed 06/28/23   Page 16 of 23




                  IN WITNESS WHEREOF, the undersigned, being the sole member of Bruce’s Bagels,
            Beverages, & Bites, LLC, has executed this written consent as of the date first set forth above.


                                                                    BITWISE INDUSTRIES, INC.



                                                             By:
                                                             Name: Ollen Douglass
                                                             Title: Authorized Signatory
                  Case 23-10848-TMH       Doc 1   Filed 06/28/23   Page 17 of 23




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                       )
 In re:
                                                       )   Chapter 7
 Bruce's Bagels, Beverages, and Bites, LLC,            )
                                                       )   Case No. 23-XXXXX (XXX)
                       Debtor.                         )
                                                       )
 Tax I.D. No. XX-XXXXXXX                               )
                                                       )

                                 CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the authorized officer of Bruce’s Bagels, Beverages, and Bites, LLC (“BBB&B”) certifies that the

following corporate entities directly own 10% or more of BBB&B’s membership interest:



                       EQUITY HOLDER                       PERCENTAGE OF INTEREST




                   BW Industries Inc.                                  100%




          00052529.2
                             Case 23-10848-TMH                     Doc 1           Filed 06/28/23       Page 18 of 23




Fill in this information to identify the case:

Debtor name         Bruce's Bagels, Beverages, and Bites, LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration     Corporate Ownership Statement

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 28, 2023                   X /s/ Ollen Douglass
                                                           Signature of individual signing on behalf of debtor

                                                            Ollen Douglass
                                                            Printed name

                                                            Interim President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                Case 23-10848-TMH     Doc 1   Filed 06/28/23   Page 19 of 23




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                   )
 In re:
                                                   )   Chapter 7
 BW Industries Inc.,                               )
                                                   )   Case No. 23-XXXXX (XXX)
                 Debtor.                           )
                                                   )
 Tax I.D. No. XX-XXXXXXX                           )
                                                   )
                                                   )
 In re:
                                                   )   Chapter 7
 Bitwise Industries, Inc.,                         )
                                                   )   Case No. 23-XXXXX (XXX)
                 Debtor.                           )
                                                   )
 Tax I.D. No. XX-XXXXXXX                           )
                                                   )
                                                   )
 In re:
                                                   )   Chapter 7
 BWRD, LLC,                                        )
                                                   )   Case No. 23-XXXXX (XXX)
                 Debtor.                           )
                                                   )
 Tax I.D. No. XX-XXXXXXX                           )
                                                   )
                                                   )
                                                   )
 In re:
                                                   )   Chapter 7
 Alpha Works Technologies, LLC,                    )
                                                   )   Case No. 23-XXXXX (XXX)
                 Debtor.                           )
                                                   )
 Tax I.D. No. XX-XXXXXXX                           )
                                                   )
                                                   )
 In re:
                                                   )   Chapter 7
 Bruce's Bagels, Beverages, and Bites, LLC,        )
                                                   )   Case No. 23-XXXXX (XXX)
                 Debtor.                           )
                                                   )
 Tax I.D. No. XX-XXXXXXX                           )
                                                   )


             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

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                 Case 23-10848-TMH              Doc 1      Filed 06/28/23         Page 20 of 23




         1.    Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that
Chipman Brown Cicero & Cole, LLP (“CBCC” or the “Firm”) are attorneys for the above-named
debtors (the “Debtors”) and that compensation paid to the Firm within one year before the filing
of the petition of bankruptcy, or agreed to be paid to the Firm, for services rendered or to be
rendered on behalf of the Debtors in contemplation of or in connection with this bankruptcy case
is as follows:

         For legal services, CBCC agreed to accept:                                                $100,000.001

         Prior to the filing of this statement, CBCC received:                                     $100,000.00

         Balance Due                                                                               $0.00

         2.       The source of the compensation paid to the Firm was:

                  ▀ Debtor BW Industries, Inc.                     Other (Specify):

         3.       The source of compensation to be paid to the Firm was:

                  ▀ Debtor BW Industries, Inc.                     Other (Specify):

         4.

               ▀ The Firm has not agreed to share the above-disclosed compensation with any
other person unless they are members and associates of the Firm.

                  The Firm has agreed to share the above-disclosed compensation with another
person or persons who are not members or associates of my law firm. A copy of the agreement,
together with a list of the names of the people sharing in the compensation, is attached.

       5.       In return for the above-disclosed fee, the Firm agreed to render legal service for all
aspects of the bankruptcy cases until the conclusion of the meeting of creditors pursuant to section
341(a) of the Bankruptcy Code, including:

                  a.       advise in connection with the preparation of the petitions, schedules of
                           assets and liabilities, statements of financial affairs, schedules of income
                           and expenditures, lists of creditors and equity security holders, statement of
                           executory contracts and unexpired leases, and master mailing list;

                  b.       representation of the Debtors at the meeting of creditors pursuant to section
                           341(a) of the Bankruptcy Code; and




1
    Prior to the Petition Date and pursuant to a written engagement agreement, on June 9, 2023, the Firm received an
    $100,000.00 retainer for restructuring advice and bankruptcy planning for BW Industries Inc., Bitwise Industries,
    Inc., BWRD, LLC, Alpha Works Technologies, LLC and Bruce's Bagels, Beverages, and Bites, LLC (the
    “Retainer”). The Retainer was fully drawn and fully earned by the Firm. All funds received from the Debtors
    were transferred from the Firm’s attorney trust account to its operating account prior to the filing of this case.
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              c.     representation of the Debtors as may otherwise be required to advise the
                     Debtors regarding its rights and responsibilities as a debtor under chapter 7
                     of the Bankruptcy Code and the Bankruptcy Rules.

                                     CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to the Firm for representation of the Debtors in these bankruptcy proceedings.

Dated: June 28, 2023                        CHIPMAN BROWN CICERO & COLE, LLP
       Wilmington, Delaware
                                                     /s/ William E. Chipman, Jr.
                                            William E. Chipman, Jr. (No. 3818)
                                            Mark D. Olivere (No. 4291)
                                            1313 North Market Street
                                            Suite 5400
                                            Wilmington, Delaware 19801
                                            Telephone:    (302) 295-0191
                                            Facsimile:    (302) 295-0199
                                            Email:        chipman@chipmanbrown.com
                                                          olivere@chipmanbrown.com

                                            Counsel for the Debtors




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                                               United States Bankruptcy Court
                                                          District of Delaware
 In re   Bruce's Bagels, Beverages, and Bites, LLC                                                Case No.
                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Interim President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     June 28, 2023                                  /s/ Ollen Douglass
                                                         Ollen Douglass/Interim President
                                                         Signer/Title
                                                                    Case 23-10848-TMH             Doc 1   Filed 06/28/23        Page 23 of 23
                                                                                                 Creditor Matrix

                 Full Name                                      Address Line 1                                Address Line 2                    Address Line 3                  City      State Postal Code
                                                                                                   Attn: Timothy L. Thompson, Nikole E.
  Agri Capital Inc.                            c/o Whitney, Thompson & Jeffcoach LLP               Cunningham, Jacob S. Sarabian        970 W. Alluvial Ave.                Fresno        CA
  Alan Bedoya                                  Address Redacted
  Alfredo Bernal                               Address Redacted
  Alfredo Martinez                             Address Redacted
  Bakersfield Business Licenses                1600 Truxtun Ave                                                                                                             Bakersfield   CA   93301
  Bill.com                                     6220 America Center Drive, Suite 100                                                                                         San Jose      CA   95002
  Bitwise Industries, Inc.                     700 Van Ness Avenue                                                                                                          Fresno        CA   93721
  BLDG Serves, LLC                             700 Van Ness Avenue                                                                                                          Fresno        CA   93721
  BW Industries Inc.                           700 Van Ness Avenue                                                                                                          Fresno        CA   93721
                                                                                                   Attn: Timothy L. Thompson, Nikole E.
  CA AG LLC                                    c/o Whitney, Thompson & Jeffcoach LLP               Cunningham, Jacob S. Sarabian        970 W. Alluvial Ave.                Fresno        CA
  California Department of Tax and Fee
  Administration                               450 N Street                                                                                                                 Sacramento CA      95814
  Christy Hathaway                             Address Redacted
  Demi Perez                                   Address Redacted
  Eric Pennella                                Address Redacted
  Fresno Business Licenses and Tax             2600 Fresno St #2156                                                                                                         Fresno        CA   93721
  Gabrielle Rodriguez                          Address Redacted
  Internal Revenue Service                     PO Box 7346                                                                                                                  Philadelphia PA    19101-7346
  Irma Olguin Jr                               Address Redacted
  Jacqueline Hanson                            Address Redacted
  Jake Soberal                                 Address Redacted
  Kathryn Truax                                Address Redacted
  Kaylee Lynn Torres                           Address Redacted
  Keith Arambula                               Address Redacted
  Kevin Arambula                               Address Redacted
  Mia Medina                                   Address Redacted
  Michaelangelo Covarrubia                     Address Redacted
  My Design Deals, LLC                         700 Van Ness Avenue                                                                                                          Fresno        CA   93721
  Rachel Long                                  Address Redacted
  State of California                          State Board Of Equalization                         450 N Street, Mic:121                                                    Sacramento CA      94279-0121
  State of Ohio                                Ohio Department of Taxation                         4485 Northland Ridge Blvd.                                               Columbus   OH      43229
                                                                                                                                        7 World Trade Center, 37th Floor,
  The Scottsdale Insurance Company             c/o Nationwide Management Liability & Specialty     Attention: Claims Manager            250 Greenwich Street                New York      NY   10007
  Trevor Ohlsen                                Address Redacted




In re: Bruce’s Bagels, Beverages, Bites, LLC
